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     STEPHEN M. LOBBIN
     sml@smlavvocati.com
 2   SML AVVOCATI P.C.
 3
     888 Prospect Street, Suite 200
     San Diego, California 92037
 4   (949) 636-1391 (Phone)
 5
     Attorney(s) for Rothschild Broadcast Distribution Systems, LLC
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 7
                     IN THE UNITED STATES DISTRICT COURT
 8                 FOR THE EASTERN DISTRICT OF CALIFORNIA
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10
      ROTHSCHILD BROADCAST
      DISTRIBUTION SYSTEMS, LLC,
11
                         Plaintiff,               CASE NO.
12
      v.                                          JURY TRIAL DEMANDED
13

14    RHOMBUS SYSTEMS, INC.,

15                       Defendant.
16

17                                      COMPLAINT
18         Plaintiff Rothschild Broadcast Distribution Systems, LLC (“Plaintiff” or
19   “Rothschild Broadcast Distribution Systems”) files this complaint against Rhombus
20   Systems, Inc. (“Rhombus”) for infringement of U.S. Patent No. 8,856,221 (hereinafter
21   the “`221 Patent”) and alleges as follows:
22                                         PARTIES
23         1.     Plaintiff is a Texas limited liability company with an address at 1 East
24   Broward Boulevard, Suite 700, Ft. Lauderdale, FL 33301.
25         2.     On information and belief, Defendant is a Delaware corporation, with a
26   place of business at 1920 20th St, Sacramento, CA 95811. On information and belief,
27   Defendant may be served through its agent, Garrett Larsson, at the same address, or
28   Incorporating Services, Ltd., 3500 S Dupont Hwy, Dover, DE 19901.
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                            COMPLAINT AGAINST RHOMBUS SYSTEMS, INC.
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 1                                  JURISDICTION AND VENUE
 2         3.       This action arises under the patent laws of the United States, 35 U.S.C. §
 3   271 et seq. Plaintiff is seeking damages, as well as attorney fees and costs.
 4         4.       Jurisdiction is proper in this Court pursuant to 28 U.S.C. §§ 1331 (Federal
 5   Question) and 1338(a) (Patents).
 6         5.       On information and belief, this Court has personal jurisdiction over
 7   Defendant because Defendant has committed, and continues to commit, acts of
 8   infringement in this District, has conducted business in this District, and/or has engaged
 9   in continuous and systematic activities in this District.
10         6.       Upon information and belief, Defendant’s instrumentalities that are
11   alleged herein to infringe were and continue to be used, imported, offered for sale,
12   and/or sold in the District.
13         7.       Venue is proper in this District under 28 U.S.C. §1400(b) because
14   Defendant is deemed to be a resident in this District. Alternatively, acts of infringement
15   are occurring in this District and Defendant has a regular and established place of
16   business in this District.
17                                       BACKGROUND
18         8.       On October 7, 2014, the United States Patent and Trademark Office
19   (“USPTO”) duly and legally issued the `221 Patent, entitled “System and Method for
20   Storing Broadcast Content in a Cloud-Based Computing Environment” after the
21   USPTO completed a full and fair examination. The ‘221 Patent is attached as Exhibit
22   A.
23         9.       Rothschild Broadcast Distribution Systems is currently the owner of the
24   `221 Patent.
25         10.      Rothschild Broadcast Distribution Systems possesses all rights of
26   recovery under the `221 Patent, including the exclusive right to recover for past, present
27   and future infringement.
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                              COMPLAINT AGAINST RHOMBUS SYSTEMS, INC.
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 1         11.    The `221 Patent contains thirteen claims including two independent claims
 2   (claims 1 and 7) and eleven dependent claims.
 3                                        COUNT ONE
 4                   (Infringement of United States Patent No. 8,856,221)
 5         12.    Plaintiff refers to and incorporates the allegations in Paragraphs 1 - 11, the
 6   same as if set forth herein.
 7         13.    This cause of action arises under the patent laws of the United States and,
 8   in particular under 35 U.S.C. §§ 271, et seq.
 9         14.    Defendant has knowledge of its infringement of the `221 Patent, at least
10   as of the service of the present complaint.
11         15.    The ‘221 Patent teaches a method and apparatus for media content storage
12   and delivery. ‘221 Patent, Abstract. Among other things, the claimed system includes
13   a server, which has a receiver in communication with a processor. Id. The receiver
14   receives a request message. Id. The request message includes media data indicating
15   requested media content and a consumer device identifier corresponding to a consumer
16   device. Id. The processor determines whether the consumer device identifier
17   corresponds to a registered consumer device. Id. If the processor determines that the
18   consumer device identifier corresponds to the registered consumer device, then the
19   processor determines whether the request message is one of a storage request message
20   and a content request message. Id. If the request message is the storage request message,
21   then the processor is further configured to determine whether the requested media
22   content is available for storage. Id. If the request message is the content request
23   message, then the processor initiates delivery of the requested media content to the
24   consumer device. Id.
25         16.    The present invention solves problems that existed with then-existing
26   media delivery systems. One problem with prior delivery systems is that the customer
27   was charged according to the expenses of the provider rather than the usage of the
28   customer. ‘221 Patent, 1:31-57. Customers were not charged based on the amount of
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                             COMPLAINT AGAINST RHOMBUS SYSTEMS, INC.
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 1   programming delivered or the amount or duration of the customer’s storage of media.
 2   Id. Another such problem, more generally, is that customers were not billed and
 3   services were not provided, in a way that was tailored to the customer’s needs and
 4   usage. Id., 2:3-13.
 5         17.    A number of aspects of the invention(s) embodied in the ‘221 Patent
 6   overcome the problems with the prior art. For example, the inventive system includes
 7   a processor in communication with a receiver. Id., 2:23-34. The processor determines
 8   media content characteristics that correspond to the media content to be stored. Id. The
 9   processor determines a length of time to store the media content based on the media
10   data and determines a cost amount based at least in part on the determined media
11   content characteristics and length of time to store the media content. Id. As another
12   example, the system makes a determination that media content is available for
13   download. Id., 2:64-3:2. A determination is made that content is not stored. Download
14   of the media content is initiated. Id. The media content is received and the received
15   media content is stored. Id.
16         18.    The ‘221 Patent is directed to computerized technologies to provide users
17   with tailored media delivery systems and tailored billing for such systems. Among other
18   things, the ‘221 Patent claims include sending and receiving of request messages
19   indicating requested media content and including a device identifier corresponding to
20   a consumer device. A determination is made whether the identifier corresponds to the
21   device. A determination is also made as to whether the request is for delivery or
22   storage. The media data in the request includes time data that indicates a length of time
23   for storage. A processor is configured to determine whether requested media exists and
24   whether there are any restrictions associated with delivery or storage of the requested
25   media.
26         19.    The system(s) and methods of the ‘221 Patent include software and
27   hardware that do not operate in a conventional manner. For example, the software is
28   tailored to provide functionality to perform recited steps and the processor is configured
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 1   (and/or programmed) to provide functionality recited throughout the claims of the ‘221
 2   Patent.
 3         20.    The ‘221 Patent solves problems with the art that are rooted in computer
 4   technology and that are associated with electronic transmission, loading, and storage of
 5   location information, as well as automatic provisioning of route guidance. The ‘221
 6   Patent claims do not merely recite the performance of some business practice known
 7   from the pre-Internet world along with the requirement to perform it on the Internet.
 8         21.    The improvements of the ‘221 Patent and the features recited in the claims
 9   in the ‘221 Patent provide improvements to conventional hardware and software
10   systems and methods. The improvements render the claimed invention of the ‘221
11   Patent non-generic in view of conventional components.
12         22.    The improvements of the ‘221 Patent and the features recitations in the
13   claims of the ’221 Patent are not those that would be well-understood, routine or
14   conventional to one of ordinary skill in the art at the time of the invention.
15         23.    Accordingly, Defendant has infringed, and continues to infringe, the `221
16   Patent in violation of 35 U.S.C. § 271. Upon information and belief, Defendant has
17   infringed and continues to infringe one or more claims, including at least Claim 7, of
18   the ‘221 Patent by making, using, importing, selling, and/or offering for media content
19   storage and delivery systems and services covered by one or more claims of the ‘221
20   Patent.
21         24.    Defendant sells, offers to sell, and/or uses media content storage and
22   delivery systems and services, including, without limitation, the Rhombus Systems
23   security camera platform, any associated hardware, software and apps, as well as any
24   similar products (“Product”), which infringe at least Claim 7 of the ‘221 Patent.
25         25.    The Product practices a method of storing (e.g., cloud storage) media
26   content (e.g., recording) and delivering requested media content (streaming video,
27   recorded videos, etc.) to a consumer device (e.g., mobile device with app or software).
28   Certain aspects of these elements are illustrated in the screenshots below and/or in those
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 1   provided in connection with other allegations herein.
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15         26.    The Product necessarily includes a receiver configured to receive a request
16   message including data indicating requested media content (e.g., the Product must have
17   infrastructure to receive a request to store recorded media content or to stream recorded
18   media content on a smartphone; additionally, the request message must contain data
19   that identifies the content to be stored or streamed) and a consumer device identifier
20   corresponding to a consumer device (e.g., the user credentials are used to access the
21   contents of the Product). Certain aspects of these elements are illustrated in the
22   screenshots below and/or in those provided in connection with other allegations herein.
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           27.    The Product necessarily determines whether the consumer device
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     identifier corresponds to the registered consumer device (e.g., a user must be a
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     registered user to access the Product’s services). Certain aspects of these elements are
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     illustrated in the screenshots below and/or in those provided in connection with other
23
     allegations herein.
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           28.    The Product provides for both media downloads and/or storage, and media
17
     streaming. After a successful login, the Product necessarily determines whether the
18
     request received from a customer is a request for storage (e.g., recording or storing
19
     content) or content (e.g., streaming of media content). Certain aspects of these elements
20
     are illustrated in the screenshots below and/or in those provided in connection with
21
     other allegations herein.
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           29.    The Product verifies that media content identified in the media data of the
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     storage request message (e.g., request to record content) is available for storage in order
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     to prevent data errors that would result from attempting to store content that is not
23
     available for storage. The Product must verify that the media content (e.g. specific
24
     recording) identified in the media data of the storage request message is available for
25
     storage in order to prevent data errors that would result from attempting to store content
26
     that is not available for storage (e.g., the product must verify a user’s ability to store
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     media content is limited to a certain amount of memory and/or time). Certain aspects
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 1   of these elements are illustrated in the screenshots below and/or in those provided in connection
 2   with other allegations herein.
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           30.   If a customer requests content (e.g., live streaming of media content), then
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     a processor within the Product necessarily initiates delivery of the content to the
18
     customer’s device. The Product will initiate delivery of the requested media content to
19
     the consumer device (e.g., stream media content feed to a smartphone or tablet etc.) if
20
     the request message is a content request message (e.g., request for live streaming).
21
     Certain aspects of these elements are illustrated in the screen shots below and/or in
22
     screen shots provided in connection with other allegations herein.
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25         31.    The media data includes date and time information to identify conference
26   start and stop times, as well as meeting length. Time data may also indicate a length of
27   time to store the requested media content (e.g., a user is allowed to store media content
28   for a retention period defined by a variable amount of time). Certain aspects of these
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 1   elements are illustrated in the screenshots below and/or in those provided in connection
 2   with other allegations herein.
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 1         32.     The Product must first determine whether the requested media content
 2   exists prior to initiating delivery in order to prevent data errors that would result from
 3   attempting to transmit media content that does not exist (e.g., the product must verify
 4   that a particular requested data is stored in the cloud). Also, a user can view the history
 5   of media content and the processor can identify the existence of that particular media
 6   content. Certain aspects of these elements are illustrated in the screenshots below
 7   and/or in those provided in connection with other allegations herein.
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           33.    After the processor determines whether the requested media content is
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     available, it determines whether there are restrictions associated with the requested
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     media content (e.g., user access restrictions, etc.). Certain aspects of these elements are
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     illustrated in the screenshots below and/or those provided in connection with other
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     allegations herein.
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           34.    Defendant’s actions complained of herein will continue unless Defendant
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     is enjoined by this Court.
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           35.   Defendant’s actions complained of herein is causing irreparable harm and
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     monetary damage to Plaintiff and will continue to do so unless and until Defendant is
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     enjoined and restrained by this Court.
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           36.       The `221 Patent is valid, enforceable, and was duly issued in full
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     compliance with Title 35 of the United States Code.
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 1            37.        A copy of the ‘221 Patent, titled “System and Method for Storing
 2   Broadcast Content in a Cloud-based Computing Environment,” is attached hereto as
 3   Exhibit A.
 4            38.      By engaging in the conduct described herein, Defendant has injured
 5   Plaintiff and is liable for infringement of the `221 Patent, pursuant to 35 U.S.C. § 271.
 6            39. Defendant has committed these acts of literal infringement, or infringement
 7   under the doctrine of equivalents of the `221 Patent, without license or authorization.
 8            40. As a result of Defendant’s infringement of the `221 Patent, injured Plaintiff
 9   has suffered monetary damages and is entitled to a monetary judgment in an amount
10   adequate to compensate for Defendant’s past infringement, together with interests and
11   costs.
12            41.   Plaintiff is in compliance with 35 U.S.C. § 287.
13            42.    As such, Plaintiff is entitled to compensation for any continuing and/or
14   future infringement of the `221 Patent up until the date that Defendant ceases its
15   infringing activities.
16                                 DEMAND FOR JURY TRIAL
17            43.   Rothschild Broadcast Distribution Systems, under Rule 38 of the Federal
18   Rules of Civil Procedure, requests a trial by jury of any issues so triable by right.
19                                    PRAYER FOR RELIEF
20            WHEREFORE, Plaintiff asks the Court to:
21            (a)   Enter judgment for Plaintiff on this Complaint on all cases of action
22   asserted herein;
23            (b)     Enter an Order enjoining Defendant, its agents, officers, servants,
24   employees, attorneys, and all persons in active concert or participation with Defendant
25   who receives notice of the order from further infringement of United States Patent No.
26   8,856,221 (or, in the alternative, awarding Plaintiff running royalty from the time
27   judgment going forward);
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 1         (c)   Award Plaintiff damages resulting from Defendants infringement in
 2   accordance with 35 U.S.C. § 284;
 3         (d) Award Plaintiff such further relief to which the Court finds Plaintiff entitled
 4   under law or equity.
 5

 6   Dated: September 20, 2021              Respectfully submitted,
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                                            /s/ Stephen M. Lobbin
 8                                          Attorney(s) for Plaintiff Rothschild Broadcast
 9
                                            Distribution Systems, LLC

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